                        2:18-cv-02307-SEM-EIL # 119            Page 1 of 3
                                                                                                     E-FILED
                                                                  Wednesday, 18 January, 2023 04:32:14 PM
                                                                             Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS

RYAN ROBB,                             )
                                       )
           Plaintiff,                  )
                                       )
v.                                     )                             Case No. 18-cv-02307
                                       )
BOARD OF TRUSTEES OF COMMUNITY COLLEGE )
DISTRICT NO. 505 (PARKLAND COLLEGE)    )
COUNTIES OF CHAMPAIGN, COLES, DEWITT,  )
DOUGLAS, EDGAR, FORD, IROQUOIS,        )
LIVINGSTON, MCLEAN, MOULTRIE, PIATT,   )
VERMILION AND STATE OF ILLINOIS,       )
                                       )
           Defendant.                  )


                  DEFENDANT’S PROPOSED VOIR DIRE QUESTIONS

   NOW COMES the Defendant, BOARD OF TRUSTEES OF COMMUNITY COLLEGE

DISTRICT NO. 505 (PARKLAND COLLEGE) COUNTIES OF CHAMPAIGN, COLES,

DEWITT, DOUGLAS, EDGAR, FORD, IROQUOIS, LIVINGSTON, MCLEAN, MOULTRIE,

PIATT, VERMILION AND STATE OF ILLINOIS (“Parkland College,”) by its attorneys Meyer

Capel, A Professional Corporation and submits the following proposed Voir Dire Questions:

   1.   Have you or a family member ever been laid off from a job?
   2.   What were the circumstances of that lay off?
   3.   Has any employer ever terminated you from a job for reasons that you felt were unfair?
   4.   Do you believe, based on that experience, that you can be fair to the parties in this case
        since it involves the layoff of Mr. Robb?
   5.   Have you ever sued an employer or former employer?
   6.   What were the circumstances?
   7.   Have you ever made a complaint of discrimination against a co-worker or your
        employer?
   8.   What were the circumstances?
   9.   Are you currently, or have you ever been, a member of a labor union as part of any job
        that you have held? If yes,
            (a)     What union?
            (b)     How long have you been a member of that labor union?
                    2:18-cv-02307-SEM-EIL # 119           Page 2 of 3




10. Have you ever been the victim of conduct in the workplace that you believe was
    discrimination, harassment, or retaliation?
11. Has fear or concern about retaliation ever caused you to refrained from reporting a
    situation in your workplace that you thought was not right?
12. Are you employed? If yes,
   (a)      Who is your employer?
   (b)      What is your job title?
   (c)      How long have you worked there?
   (d)      Do you currently supervise any employees in that position?
   If no,
   (a)      Who was your last employer?
   (b)      How long have you been unemployed?
   (c)      What was your job title with your last employer?
   (d)      How did your last employment end?
   (e)      Did you supervise any employees in that position?




                                                 Respectfully submitted,
                                                 BOARD OF TRUSTEES OF
                                                 COMMUNITY COLLEGE DISTRICT
                                                 NO. 505 (PARKLAND COLLEGE)
                                                 COUNTIES OF CHAMPAIGN, COLES,
                                                 DEWITT, DOUGLAS, EDGAR, FORD,
                                                 IROQUOIS, LIVINGSTON, MCLEAN,
                                                 MOULTRIE, PIATT, VERMILION
                                                 AND STATE OF ILLINOIS, Defendant,
                                                 By: Meyer Capel, A Professional
                                                 Corporation

                                                 By: /s/ Lorna K. Geiler __________
                                                 Lorna K. Geiler, Bar#6192940
                                                 Attorney for the Defendant
                                                 Meyer Capel, A Professional Corporation
                                                 306 W. Church St.
                                                 Champaign, IL 61820
                                                 Phone: (217) 352-9294
                                                 Email: lgeiler@meyercapel.com
                       2:18-cv-02307-SEM-EIL # 119           Page 3 of 3




                      CERTIFICATE OF SERVICE BY ATTORNEY


        In accordance with Fed.R.Civ.P. 5(a) and LR5.3(c) the undersigned attorney certifies that
the foregoing DEFENDANT’S PROPOSED VOIR DIRE QUESTIONS was filed with the
Clerk of this Court by submission of the same via this Court’s Electronic Case File System
(“ECF”) on January 18, 2023 and that notice of said electronic filing will automatically be
transmitted by email to:
David Brian Levin - dlevin@toddflaw.com
Steven Gene Perry - sperry@toddflaw.com




                                     By:    /s/ Lorna K. Geiler___________________
                                            Lorna K. Geiler, Bar#6192940
                                            Attorney for the Defendant
                                            Meyer Capel, A Professional Corporation
                                            306 W. Church St.
                                            Champaign, IL 61820
                                            Phone: (217) 352-1800
                                            Email: lgeiler@meyercapel.com
